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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA           :
                                    :
       v.                           :             Case No. 21-CR-116 (DLF)
                                    :
 WILLIAM McCALL CALHOUN,            :
                                    :
       Defendant.                   :
____________________________________:

                    CONDITIONAL OPPOSITION TO DEFENDANT’S
                   MOTION TO MODIFY CONDITIONS OF PRETRIAL
                                  RELEASE

       The United States, by and through the assigned Assistant United States Attorney,

conditionally opposes the Defendant’s Motion to Modify his conditions of Pre-trial release filed

at ECF document 44 on the pleadings, but joins the Defendant’s request that the Court address the

motion at the upcoming July 8 status conference schedule in this matter, to hear from U.S.

Probation regarding Mr. Calhoun’s performance on supervision to date and any relevant

clarification regarding the application and enforcement of the Court’s prior order.


Respectfully submitted,

                              CHANNING D. PHILLIPS
                              ACTING UNITED STATES ATTORNEY

                              /s/ Adam Alexander
                              ADAM ALEXANDER
                              Assistant United States Attorney
                              AK Bar No. 1011057
                              U.S. Attorney’s Office for the District of Columbia
                              555 4th Street, N.W.
                              Washington, D.C. 20530
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                              CERTIFICATE OF SERVICE

        I hereby certify that on June 30, 2021, I sent a copy of the foregoing via the Court’s
electronic filing system to Jessica Sherman-Stoltz, Esq., counsel for the defendant.


                                     /s/ Adam Alexander
                                     ADAM ALEXANDER
                                     Assistant United States Attorney




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